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                              APPENDIX B
     SUMMARY CHART OF NONTAXABLE, OUT-OF-POCKET EXPENSES
                             Trial Proceedings
         Entity             Object of Expense               Amount
Morrison & Foerster
                        E-discovery                $43,388.53
                        Depositions                $1,054.14
                        Postage                    $47.68
                        Research                   $60,044.13
                        Shipping & Couriers        $10,082.76
                        Travel                     $52,098.42
                        Word-processing            $1,581
                        Faxes                      $91
                        Overtime                   $421.97
                        Printing                   $302.40
                        Trial Expenses             $1,751.62
                        Subtotal                   $170,863.65
Center
                     Overtime                      $69.60
                     Travel                        $15,320.89
                     Research                      $72.28
                     Shipping                      $708.65
                     Telephone                     $50.06
                     Subtotal                      $16,221.48
TOTAL TRIAL PROCEEDINGS -- $187,085.13
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                          Appellate Proceedings
         Entity             Object of Expense                   Amount
Morrison & Foerster
                        Research                    $2,961.7
                        Shipping & Couriers         $315.39
                        Travel                      $1,371.51
                        Printing                    $387.52
                        Subtotal                    $5,036.12
Center
                        Printing                    $12,128.55
                        Travel                      $11,130.02
                        Research                    $267.60
                        Shipping                    $517.18
                        Subtotal                    $24,043.35
OMM
                    Travel                          $8,760.57
                    Printing                        $5,371.11
                    Shipping & Courriers            $74.39
                    Word Processing                 $546.30
                    Research                        $16,012.38
                    Subtotal                        $30,764.75
TOTAL APPELLATE PROCEEDINGS -- $59,844.22
